             Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 1 of 30




      UNITED STATES DISTRICT COURT
      SOUTHERN DISTRICT OF NEW YORK
     ------------------------------------ x
     TONIMARIE RHONE, on behalf of herself and all :               Case no. 1:22-cv-10304
     others similarly situated,                    :
                                                   :
                            Plaintiffs,            :
                                                   :               CLASS ACTION COMPLAINT
                             v.                    :                         AND
                                                   :                DEMAND FOR JURY TRIAL
     DD Traders, Inc.,                             :
                                                   :
                            Defendant.             :
                                                   :
                                                   :
     ------------------------------------ x


                                             INTRODUCTION

1.   Plaintiff, TONIMARIE RHONE (“Plaintiff” or “RHONE”), brings this action on behalf of herself

     and all other persons similarly situated against DD Traders, Inc. (hereinafter “DD Traders” or

     “Defendant”), and states as follows:


2.   Plaintiff is a visually-impaired and legally blind person who requires screen-reading software to

     read website content using her computer. Plaintiff uses the terms “blind” or “visually-impaired” to

     refer to all people with visual impairments who meet the legal definition of blindness in that they

     have a visual acuity with correction of less than or equal to 20 x 200. Some blind people who meet

     this definition have limited vision; others have no vision.


3.   Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in the United States

     are visually impaired, including 2.0 million who are blind, and according to the American

     Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired persons live in

     the State of New York.




                                                       1
             Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 2 of 30




4.   Plaintiff brings this civil rights action against DD Traders for their failure to design, construct,

     maintain, and operate their website to be fully accessible to and independently usable by Plaintiff

     and other blind or visually-impaired persons. Defendant is denying blind and visually impaired

     persons throughout the United States with equal access to the goods and services DD Traders

     provides to their non-disabled customers through https://www.willowtree.com (hereinafter

     “Willowtree.com” or “the website”). Defendant’s denial of full and equal access to its website, and

     therefore denial of its products and services offered, and in conjunction with its physical locations,

     is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).


5.   Willowtree.com provides to the public a wide array of the goods, services, price specials and other

     programs offered by DD Traders. Yet, Willowtree.com contains significant access barriers that

     make it difficult if not impossible for blind and visually-impaired customers to use the website. In

     fact, the access barriers make it impossible for blind and visually-impaired users to even complete

     a transaction on the website. Thus, DD Traders excludes the blind and visually-impaired from the

     full and equal participation in the growing Internet economy that is increasingly a fundamental part

     of the common marketplace and daily living. In the wave of technological advances in recent years,

     assistive computer technology is becoming an increasingly prominent part of everyday life,

     allowing blind and visually-impaired persons to fully and independently access a variety of

     services.


6.   The blind have an even greater need than the sighted to shop and conduct transactions online due

     to the challenges faced in mobility. The lack of an accessible website means that blind people are

     excluded from experiencing transacting with Defendant’s website and from purchasing goods or

     services from Defendant’s website.




                                                       2
             Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 3 of 30




7.   Despite readily available accessible technology, such as the technology in use at other heavily

     trafficked retail websites, which makes use of alternative text, accessible forms, descriptive links,

     resizable text and limits the usage of tables and JavaScript, Defendant has chosen to rely on an

     exclusively visual interface. DD Traders’ sighted customers can independently browse, select, and

     buy online without the assistance of others. However, blind persons must rely on sighted

     companions to assist them in accessing and purchasing on Willowtree.com.


8.   By failing to make the website accessible to blind persons, Defendant is violating basic equal access

     requirements under both state and federal law.


9.   Congress provided a clear and national mandate for the elimination of discrimination against

     individuals with disabilities when it enacted the ADA. Such discrimination includes barriers to full

     integration, independent living, and equal opportunity for persons with disabilities, including those

     barriers created by websites and other public accommodations that are inaccessible to blind and

     visually impaired persons. Similarly, New York state law requires places of public accommodation

     to ensure access to goods, services, and facilities by making reasonable accommodations for

     persons with disabilities.


10. Plaintiff browsed and intended to make an online purchase of ornaments on Willowtree.com.

     Plaintiff wanted to decorate her Christmas tree and was looking for angel ornaments. After some

     searches, she was directed to the Defendant's website. After accessing the site, she could not

     efficiently analyze products provided by the company, because the website was not properly

     designed for legally blind people. When Plaintiff wanted to purchase the product she selected, the

     focus did not move from trigger button to Checkout confirmation dialog items. Due to the

     difficulties encountered, Plaintiff felt disappointed that she could not purchase a product from the




                                                      3
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 4 of 30




    website. However, unless Defendant remedies the numerous access barriers on its website, Plaintiff

    and Class members will continue to be unable to independently navigate, browse, use, and complete

    a transaction on Willowtree.com.


11. Because Defendant’s website, Willowtree.com, is not equally accessible to blind and visually-

    impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to cause a change

    in DD Traders’ policies, practices, and procedures to that Defendant’s website will become and

    remain accessible to blind and visually-impaired consumers. This complaint also seeks

    compensatory damages to compensate Class members for having been subjected to unlawful

    discrimination.


                                     JURISDICTION AND VENUE


12. This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331 and 42 U.S.C. §

    12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181, et seq., and 28

    U.S.C. § 1332. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. § 1367,

    over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec. Law,

    Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

    Administrative Code § 8-101 et seq. (“City Law”).


13. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)(c) and 144(a)

    because Defendant conducts and continues to conduct a substantial and significant amount of

    business in this District, and a substantial portion of the conduct complained of herein occurred in

    this District because Plaintiff attempted to utilize, on a number of occasions, the subject Website

    within this Judicial District.




                                                     4
             Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 5 of 30




14. Defendant is registered to do business in New York State and has been conducting business in New

    York State, including in this District. Defendant purposefully targets and otherwise solicits business

    from New York State residents through its website. Because of this targeting, it is not unusual for

    DD Traders to conduct business with New York State residents. Defendant also has been and is

    committing the acts alleged herein in this District and has been and is violating the rights of

    consumers in this District and has been and is causing injury to consumers in this District. A

    substantial part of the act and omissions giving rise to Plaintiff’s claims have occurred in this

    District. Most courts support the placement of venue in the district in which Plaintiff tried and failed

    to access the Website. In Access Now, Inc. v. Otter Products, LLC 280 F.Supp.3d 287 (D. Mass.

    2017), Judge Patti B. Saris ruled that “although the website may have been created and operated

    outside of the district, the attempts to access the website in Massachusetts are part of the sequence

    of events underlying the claim. Therefore, venue is proper in [the District of Massachusetts].” Otter

    Prods., 280 F.Supp.3d at 294. This satisfies Due Process because the harm – the barred access to

    the website – occurred here.” Otter Prods., 280 F.Supp.3d at 293.


    Additionally, in Access Now, Inc. v. Sportswear, Inc., No. 17-cv-11211-NMG, 2018 Dist. LEXIS

    47318 (D. Mass. Mar. 22, 2018), Judge Nathaniel M. Gorton stated that the defendant “availed

    itself of the forum state’s economic activities by targeting the residents of the Commonwealth . . .

    Such targeting evinces a voluntary attempt to appeal to the customer base in the forum.” Sportswear,

    No. 1:17-cv-11211-NMG, 2018 U.S. Dist. LEXIS 47318 at *11. Thus, establishing a customer base

    in a particular district is sufficient cause for venue placement.


                                                  PARTIES


15. Plaintiff, is and has been at all relevant times a resident of Westchester County, State of New York.




                                                       5
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 6 of 30




16. Plaintiff is legally blind and a member of a protected class under the ADA, 42 U.S.C. § 12102(l)-

    (2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq., the New York

    State Human Rights Law and the New York City Human Rights Law. Plaintiff, TONIMARIE

    RHONE, cannot use a computer without the assistance of screen reader software. Plaintiff has been

    denied the full enjoyment of the facilities, goods and services of Willowtree.com as a result of

    accessibility barriers on Willowtree.com.

17. Defendant, DD Traders, Inc., is a Delaware Corporation doing business in this State with its

    principal place of business located at 5000 W. 134th Street, Leawood, KS 66209.

18. DD Traders provides to the public a website known as Willowtree.com which provides consumers

    with access to an array of goods and services, including, the ability to view figures, nativity sets,

    ornaments, tree toppers, musicals, relationships, occasions and expressions sculptures. Consumers

    across the United States use Defendant’s website to purchase original figures and sculptures.

    Defendant’s website is a place of public accommodation within the definition of Title III of the

    ADA, 42 U.S.C. § 12181(7). See Victor Andrews v. Blick Art Materials, LLC, No. 17-cv-767, 2017

    WL 3278898 (E.D.N.Y. August 1, 2017). The inaccessibility of Willowtree.com has deterred

    Plaintiff from making an online purchase of ornaments.


                                        NATURE OF THE CASE


19. The Internet has become a significant source of information, a portal, and a tool for conducting

    business, doing everyday activities such as shopping, learning, banking, researching, as well as

    many other activities for sighted, blind and visually-impaired persons alike.


20. The blind access websites by using keyboards in conjunction with screen-reading software which

    vocalizes visual information on a computer screen. Except for a blind person whose residual vision




                                                     6
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 7 of 30




    is still sufficient to use magnification, screen access software provides the only method by which a

    blind person can independently access the Internet. Unless websites are designed to allow for use

    in this manner, blind persons are unable to fully access Internet websites and the information,

    products and services contained therein.


21. For screen-reading software to function, the information on a website must be capable of being

    rendered into text. If the website content is not capable of being rendered into text, the blind user is

    unable to access the same content available to sighted users.


22. Blind users of Windows operating system-enabled computers and devices have several screen-

    reading software programs available to them. NonVisual Desktop Access, otherwise known as

    “NVDA”, is currently one of the most popular, downloaded screen-reading software program

    available for blind computer users.


23. The international website standards organization, the World Wide Web Consortium, known

    throughout the world as W3C, has published version 2.1 of the Web Content Accessibility

    Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making websites

    accessible to blind and visually-impaired persons. These guidelines are universally followed by

    most large business entities and government agencies to ensure their websites are accessible. Many

    Courts have also established WCAG 2.1 as the standard guideline for accessibility. The federal

    government has also promulgated website accessibility standards under Section 508 of the

    Rehabilitation Act. These guidelines are readily available via the Internet, so that a business

    designing a website can easily access them. These guidelines recommend several basic components

    for making websites accessible, including but not limited to: adding invisible alt-text to graphics,

    ensuring that all functions can be performed using a keyboard and not just a mouse, ensuring that




                                                       7
              Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 8 of 30




    image maps are accessible, and adding headings so that blind persons can easily navigate the site.

    Without these very basic components, a website will be inaccessible to a blind person using a screen

    reader. Websites need to be accessible to the “least sophisticated” user of screen-reading software

    and need to be able to work with all browsers. Websites need to be continually updated and

    maintained to ensure that they remain fully accessible.


                                       FACTUAL ALLEGATIONS


24. Defendant controls and operates Willowtree.com in New York State and throughout the United

    States.


25. Willowtree.com is a commercial website that offers products and services for online sale. The

    online store allows the user to view original figures and sculptures, make purchases, and perform a

    variety of other functions.


26. Among the features offered by Willowtree.com are the following:


               a) Consumers may use the website to connect with DD Traders, Inc. on various social

                 media platforms, including Instagram, Facebook and YouTube;

               b) an online store, allowing customers to purchase figures, nativity sets, ornaments, tree

                 toppers, musicals, relationships, occasions and expressions sculptures and other

                 products for delivery to their doorsteps, and;

               c) Learning about shipping and return policies, reading reviews, and learning about the

                 company, amongst other features.

27. This case arises out of DD Traders’ policy and practice of denying the blind access to the goods

    and services offered by Willowtree.com. Due to DD Traders’ failure and refusal to remove access




                                                      8
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 9 of 30




    barriers to Willowtree.com, blind individuals have been and are being denied equal access to DD

    Traders, as well as to the numerous goods, services and benefits offered to the public through

    Willowtree.com.


28. DD Traders denies the blind access to goods, services and information made available through

    Willowtree.com by preventing them from freely navigating Willowtree.com.


29. Willowtree.com contains access barriers that prevent free and full use by Plaintiff and blind

    persons using keyboards and screen-reading software. These barriers are pervasive and include,

    but are not limited to: inaccurate heading hierarchy, inadequate focus order, ambiguous link texts,

    inaccessible contact information, changing of content without advance warning, unclear labels for

    interactive elements, inaccurate alt-text on graphics, the lack of adequate labeling of form fields,

    the denial of keyboard access for some interactive elements and the requirement that transactions

    be performed solely with a mouse.


30. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical image on a website.

    Web accessibility requires that alt-text be coded with each picture so that a screen-reader can speak

    the alternative text while sighted users see the picture. Alt-text does not change the visual

    presentation except that it appears as a text pop-up when the mouse moves over the picture. There

    are many important pictures on Willowtree.com that lack a text equivalent. The lack of alt-text on

    these graphics prevents screen readers from accurately vocalizing a description of the graphics

    (screen-readers detect and vocalize alt-text to provide a description of the image to a blind computer

    user). As a result, Plaintiff and blind Willowtree.com customers are unable to determine what is on

    the website, browse the website or investigate and/or make purchases.




                                                      9
              Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 10 of 30




31. Willowtree.com also lacks prompting information and accommodations necessary to allow blind

    shoppers who use screen-readers to locate and accurately fill-out online forms. On a shopping site

    such as Willowtree.com, these forms include field to select quantity. Due to lack of adequate

    labeling, Plaintiff and blind customers cannot make purchases or inquiries as to Defendant’s

    merchandise, nor can they enter their personal identification and financial information with

    confidence and security.


32. When visiting the Website, Plaintiff, using NVDA, encountered the following specific accessibility

    issues:


         a) Plaintiff was disoriented when the automatic Email Subscription pop-up window appeared

               on the home page. Plaintiff, as a legally blind user, had a significant difficulty knowing

               when automatic visual context change had occurred, such as a new window popping up;


         b) More than one heading level 1 was used per page. Heading level 1 provides important

               indication of what the page is about and outlines its content. Using more than one <h1> is

               allowed by the HTML specification, but is not considered beneficial for screen reader

               users. Plaintiff used keyboard shortcuts to navigate directly to the <h1>, and was forced to

               listen to more of the web page content to understand its overcomplicated structure, because

               the <h1> appeared somewhere other than at the start of the main content;


         c) Plaintiff was not aware of the search suggestions after search term was entered into the

               Search bar. The status update, such as a brief text message about search suggestions, was

               not provided even though the content of the page was updated and search suggestions were

               displayed. Without appropriate status message legally blind users do not know that search

               suggestion appeared on the screen;



                                                       10
  Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 11 of 30




d) Interactive elements on the home page carousel could not be focused with the Tab key.

   The website did not provide helpful instructions on how to access the interactive element

   using the arrow keys. Plaintiff did not know about the interactive element from the home

   page;


e) Plaintiff was forced to repeatedly tab through elements with the same destination on the

   home page carousel: the link text of products conveyed similar information and led to the

   same destinations as interactive images above the links;


f) Images used as links on the home page had inappropriate, non-descriptive alternative text.

   Plaintiff did not perceive the real message and purpose of the non-text content;


g) Interactive elements (“filter” checkboxes) on the Category page did not have descriptive

   name. Plaintiff could not identify the purpose of the interactive element;


h) Plaintiff attempted to purchase the product on the Product detail page and as a result, the

   confirmation dialog box opened, but the focus did not move from trigger button to dialog

   items. Plaintiff was confused when she was unable to navigate through the content with

   the keyboard;


i) Unclear and ambiguous labels for form fields, specifically, the “quantity” field on the

   Product detail page, impeded Plaintiff from correct selection of the product quantity when

   attempting to make a purchase. Plaintiff was unaware of the purpose of the interactive

   element;


j) Different images of the same product on the Product detail page had similar and poorly

   descriptive alternative text. The similar alternative text impeded Plaintiff from learning



                                           11
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 12 of 30




             more detailed information about the product;


         k) Plaintiff tried to follow Social media links from the content info “footer” region and

             received no prior warning that the links opened a new window. As a result, Plaintiff

             unsuccessfully tried to use the “Back” function of the browser to go to the previous page

             and found herself disoriented;


         l) The telephone number on the Privacy policy page was presented in plain text, and therefore

             was non-interactive and inaccessible to the screen reader software. As a result, Plaintiff

             was unable to contact the customer support to clarify details about products or purchase

             procedure.


    Consequently, blind customers are essentially prevented from purchasing any items on

    Willowtree.com.


33. Willowtree.com requires the use of a mouse to complete a transaction. Yet, it is a fundamental tenet

    of web accessibility that for a web page to be accessible to Plaintiff and blind people, it must be

    possible for the user to interact with the page using only the keyboard. Indeed, Plaintiff and blind

    users cannot use a mouse because manipulating the mouse is a visual activity of moving the mouse

    pointer from one visual spot on the page to another. Thus, Willowtree.com’s inaccessible design,

    which requires the use of a mouse to complete a transaction, denies Plaintiff and blind customers

    the ability to independently navigate and/or make purchases on Willowtree.com.


34. Due to Willowtree.com’s inaccessibility, Plaintiff and blind customers must in turn spend time,

    energy, and/or money to make their purchases at traditional brick-and mortar retailers. Some blind

    customers may require a driver to get to the stores or require assistance in navigating the stores. By




                                                     12
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 13 of 30




    contrast, if Willowtree.com was accessible, a blind person could independently investigate products

    and make purchases via the Internet as sighted individuals can and do. According to WCAG 2.1

    Guideline 3.2.1 “On Focus”, functionality of the components should be predictable as customers

    navigate their way through the website. Plaintiff encountered numerous obstacles on

    Willowtree.com automatic pop-ups and links that open new windows without prior warning. These

    obstacles can significantly disorient legally blind customers. Plaintiff had difficulty in determining

    when the automatic change in visual context occurred on the website. Thus, DD Traders has

    inaccessible design that deprives the Plaintiff and blind customers of the opportunity to make

    purchases on Willowtree.com on their own.


35. Willowtree.com thus contains access barriers which deny the full and equal access to Plaintiff, who

    would otherwise use Willowtree.com and who would otherwise be able to fully and equally enjoy

    the benefits and services of Willowtree.com in New York State and throughout the United States.


36. Plaintiff, TONIMARIE RHONE, has made numerous attempts to complete a purchase on

    Willowtree.com, most recently on November 25, 2022, but was unable to do so independently

    because of the many access barriers on Defendant’s website. These access barriers have caused

    Willowtree.com to be inaccessible to, and not independently usable by, blind and visually-impaired

    persons. Amongst other access barriers experienced, Plaintiff was unable to make an online

    purchase of ornaments.


37. Moreover, Plaintiff intends on visiting the Website in the future in order to make additional

    potential purchases of a tree topper and other products from Willowtree.com. Plaintiff enjoys the

    various selections of original figures and sculptures, and would like to order products to be shipped

    directly to her home from Defendant’s website.




                                                     13
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 14 of 30




38. As described above, Plaintiff has actual knowledge of the fact that Defendant’s website,

    Willowtree.com, contains access barriers causing the website to be inaccessible, and not

    independently usable by, blind and visually-impaired persons.


39. These barriers to access have denied Plaintiff full and equal access to, and enjoyment of, the goods,

    benefits and services of Willowtree.com.


40. Defendant engaged in acts of intentional discrimination, including but not limited to the following

    policies or practices:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


41. Defendant utilizes standards, criteria or methods of administration that have the effect of

    discriminating or perpetuating the discrimination of others.


42. Because of Defendant’s denial of full and equal access to, and enjoyment of, the goods, benefits

    and services of Willowtree.com, Plaintiff and the class have suffered an injury-in-fact which is

    concrete and particularized and actual and is a direct result of defendant’s conduct.




                                                      14
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 15 of 30




                                    CLASS ACTION ALLEGATIONS


43. Plaintiff, on behalf of herself and all others similarly situated, seeks certification of the following

    nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal Rules of Civil Procedure: “all

    legally blind individuals in the United States who have attempted to access Willowtree.com and as

    a result have been denied access to the enjoyment of goods and services offered by Willowtree.com,

    during the relevant statutory period.”


44. Plaintiff seeks certification of the following New York subclass pursuant to Fed.R.Civ.P. 23(a),

    23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New York State who have

    attempted to access Willowtree.com and as a result have been denied access to the enjoyment of

    goods and services offered by Willowtree.com, during the relevant statutory period.”


45. There are hundreds of thousands of visually-impaired persons in New York State. There are

    approximately 8.1 million people in the United States who are visually-impaired. Id. Thus, the

    persons in the class are so numerous that joinder of all such persons is impractical and the

    disposition of their claims in a class action is a benefit to the parties and to the Court.


46. This case arises out of Defendant’s policy and practice of maintaining an inaccessible website

    denying blind persons access to the goods and services of Willowtree.com. Due to Defendant’s

    policy and practice of failing to remove access barriers, blind persons have been and are being

    denied full and equal access to independently browse, select and shop on Willowtree.com.


47. There are common questions of law and fact common to the class, including without limitation, the

    following:


             (a) Whether Willowtree.com is a “public accommodation” under the ADA;



                                                       15
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 16 of 30




             (b) Whether Willowtree.com is a “place or provider of public accommodation” under the

                 laws of New York;


             (c) Whether Defendant, through its website, Willowtree.com, denies the full and equal

                 enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

                 to people with visual disabilities in violation of the ADA; and


             (d) Whether Defendant, through its website, Willowtree.com, denies the full and equal

                 enjoyment of its goods, services, facilities, privileges, advantages, or accommodations

                 to people with visual disabilities in violation of the law of New York.


48. The claims of the named Plaintiff are typical of those of the class. The class, similar to the Plaintiff,

    is severely visually-impaired or otherwise blind, and claims DD Traders has violated the ADA,

    and/or the laws of New York by failing to update or remove access barriers on their website,

    Willowtree.com, so it can be independently accessible to the class of people who are legally blind.


49. Plaintiff will fairly and adequately represent and protect the interests of the members of the Class

    because Plaintiff has retained and is represented by counsel competent and experienced in complex

    class action litigation, and because Plaintiff has no interests antagonistic to the members of the

    class. Class certification of the claims is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

    Defendant has acted or refused to act on grounds generally applicable to the Class, making

    appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.


50. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3) because questions of

    law and fact common to Class members clearly predominate over questions affecting only




                                                       16
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 17 of 30




    individual class members, and because a class action is superior to other available methods for the

    fair and efficient adjudication of this litigation.


51. Judicial economy will be served by maintenance of this lawsuit as a class action in that it is likely

    to avoid the burden that would be otherwise placed upon the judicial system by the filing of

    numerous similar suits by people with visual disabilities throughout the United States.


52. References to Plaintiff shall be deemed to include the named Plaintiff and each member of the class,

    unless otherwise indicated.


                                        FIRST CAUSE OF ACTION

         (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)


53. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 56 of this Complaint as though set forth at length herein.


54. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a) provides that “No

    individual shall be discriminated against on the basis of disability in the full and equal enjoyment

    of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

    accommodation by any person who owns, leases (or leases to), or operates a place of public

    accommodation.” Title III also prohibits an entity from “[u]tilizing standards or criteria or methods

    of administration that have the effect of discriminating on the basis of disability.” 42 U.S.C.

    § 12181(b)(2)(D)(I).


55. Willowtree.com is a sales establishment and public accommodation within the definition of 42

    U.S.C. §§ 12181(7).


56. Defendant is subject to Title III of the ADA because it owns and operates Willowtree.com.



                                                          17
              Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 18 of 30




57. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities the opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodations of an

    entity.


58. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful discrimination to deny

    individuals with disabilities or a class of individuals with disabilities an opportunity to participate

    in or benefit from the goods, services, facilities, privileges, advantages, or accommodation, which

    is equal to the opportunities afforded to other individuals.


59. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II), unlawful discrimination

    includes, among other things, “a failure to make reasonable modifications in policies, practices, or

    procedures, when such modifications are necessary to afford such goods, services, facilities,

    privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

    demonstrate that making such modifications would fundamentally alter the nature of such goods,

    services, facilities, privileges, advantages or accommodations.”


60. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III), unlawful discrimination

    also includes, among other things, “a failure to take such steps as may be necessary to ensure that

    no individual with disability is excluded, denied services, segregated or otherwise treated

    differently than other individuals because of the absence of auxiliary aids and services, unless the

    entity can demonstrate that taking such steps would fundamentally alter the nature of the good,

    service, facility, privilege, advantage, or accommodation being offered or would result in an undue

    burden.”




                                                      18
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 19 of 30




61. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their websites accessible, including but not limited to ensuring adequate

    prompting and accessible alt-text. Incorporating the basic components to make their website

    accessible would neither fundamentally alter the nature of Defendant’s business nor result in an

    undue burden to Defendant.


62. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C. § 12101 et seq., and

    the regulations promulgated thereunder. Patrons of DD Traders who are blind have been denied full

    and equal access to Willowtree.com, have not been provided services that are provided to other

    patrons who are not disabled, and/or have been provided services that are inferior to the services

    provided to non-disabled patrons.


63. Defendant has failed to take any prompt and equitable steps to remedy its discriminatory conduct.

    These violations are ongoing.


64. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Willowtree.com in violation of Title III of the Americans with Disabilities Act, 42

    U.S.C. §§ 12181 et seq. and/or its implementing regulations.


65. Unless the Court enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff

    and members of the proposed class and subclass will continue to suffer irreparable harm.




                                                     19
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 20 of 30




66. The actions of Defendant were and are in violation of the ADA, and therefore Plaintiff invokes her

    statutory right to injunctive relief to remedy the discrimination.


67. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


68. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and incorporated

    therein, Plaintiff prays for judgment as set forth below.

                                      SECOND CAUSE OF ACTION

                      (Violation of New York State Human Rights Law, N.Y. Exec. Law
                                  Article 15 (Executive Law § 292 et seq.))


69. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 72 of this Complaint as though set forth at length herein.


70. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice for any person,

    being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any place of

    public accommodation . . . because of the . . . disability of any person, directly or indirectly, to

    refuse, withhold from or deny to such person any of the accommodations, advantages, facilities or

    privileges thereof.”


71. Willowtree.com is a sales establishment and public accommodation within the definition of N.Y.

    Exec. Law § 292(9).


72. Defendant is subject to the New York Human Rights Law because it owns and operates

    Willowtree.com. Defendant is a person within the meaning of N.Y. Exec. Law. § 292(1).


73. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove access barriers

    to Willowtree.com, causing Willowtree.com to be completely inaccessible to the blind. This




                                                       20
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 21 of 30




    inaccessibility denies blind patrons the full and equal access to the facilities, goods and services

    that Defendant makes available to the non-disabled public.


74. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice includes, among other

    things, “a refusal to make reasonable modifications in policies, practices, or procedures, when such

    modifications are necessary to afford facilities, privileges, advantages or accommodations to

    individuals with disabilities, unless such person can demonstrate that making such modifications

    would fundamentally alter the nature of such facilities, privileges, advantages or accommodations.”


75. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory practice also includes,

    “a refusal to take such steps as may be necessary to ensure that no individual with a disability is

    excluded or denied services because of the absence of auxiliary aids and services, unless such

    person can demonstrate that taking such steps would fundamentally alter the nature of the facility,

    privilege, advantage or accommodation being offered or would result in an undue burden.”


76. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


77. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the New York State Human Rights Law, N.Y. Exec. Law § 296(2) in that

    Defendant has:




                                                     21
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 22 of 30




             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or


             (c) failed to take actions to correct these access barriers in the face of substantial harm and

                 discrimination to blind class members.


78. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


79. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class and subclass on the basis of disability in the full and equal

    enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

    opportunities of Willowtree.com under N.Y. Exec. Law § 296(2) et seq. and/or its implementing

    regulations. Unless the Court enjoins Defendant from continuing to engage in these unlawful

    practices, Plaintiff and members of the class will continue to suffer irreparable harm.


80. The actions of Defendant were and are in violation of the New York State Human Rights Law and

    therefore Plaintiff invokes her right to injunctive relief to remedy the discrimination.


81. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines pursuant to

    N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.


82. Plaintiff is also entitled to reasonable attorneys’ fees and costs.




                                                       22
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 23 of 30




83. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

    incorporated therein, Plaintiff prays for judgment as set forth below.


                                         THIRD CAUSE OF ACTION

                                (Violation of New York State Civil Rights Law,
                               NY CLS Civ R, Article 4 (CLS Civ R § 40 et seq.))


84. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 87 of this Complaint as though set forth at length herein.


85. Plaintiff served notice thereof upon the attorney general as required by N.Y. Civil Rights Law § 41.


86. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction of this state shall be

    entitled to the full and equal accommodations, advantages, facilities, and privileges of any places

    of public accommodations, resort or amusement, subject only to the conditions and limitations

    established by law and applicable alike to all persons. No persons, being the owner, lessee,

    proprietor, manager, superintendent, agent, or employee of any such place shall directly or

    indirectly refuse, withhold from, or deny to any person any of the accommodations, advantages,

    facilities and privileges thereof . . .”


87. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . . disability, as such term is

    defined in section two hundred ninety-two of executive law, be subjected to any discrimination in

    his or her civil rights, or to any harassment, as defined in section 240.25 of the penal law, in the

    exercise thereof, by any other person or by any firm, corporation or institution, or by the state or

    any agency or subdivision.”




                                                      23
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 24 of 30




88. Willowtree.com is a sales establishment and public accommodation within the definition of N.Y.

    Civil Rights Law § 40-c(2).


89. Defendant is subject to New York Civil Rights Law because it owns and operates Willowtree.com.

    Defendant is a person within the meaning of N.Y. Civil Law § 40-c(2).


90. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update or remove access

    barriers to Willowtree.com, causing Willowtree.com to be completely inaccessible to the blind.

    This inaccessibility denies blind patrons full and equal access to the facilities, goods and services

    that Defendant makes available to the non-disabled public.


91. There are readily available, well-established guidelines on the Internet for making websites

    accessible to the blind and visually-impaired. These guidelines have been followed by other

    business entities in making their website accessible, including but not limited to: adding alt-text to

    graphics and ensuring that all functions can be performed by using a keyboard. Incorporating the

    basic components to make their website accessible would neither fundamentally alter the nature of

    Defendant’s business nor result in an undue burden to Defendant.


92. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which shall violate any of the

    provisions of sections forty, forty-a, forty-b or forty two . . . shall for each and every violation

    thereof be liable to a penalty of not less than one hundred dollars nor more than five hundred dollars,

    to be recovered by the person aggrieved thereby . . .”


93. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall violate any of the

    provisions of the foregoing section, or subdivision three of section 240.30 or section 240.31 of the

    penal law, or who shall aid or incite the violation of any of said provisions shall for each and every




                                                      24
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 25 of 30




    violation thereof be liable to a penalty of not less than one hundred dollars nor more than five

    hundred dollars, to be recovered by the person aggrieved thereby in any court of competent

    jurisdiction in the county in which the defendant shall reside . . .”


94. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

    These violations are ongoing.


95. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

    and members of the proposed class on the basis of disability are being directly indirectly refused,

    withheld from, or denied the accommodations, advantages, facilities and privileges thereof in § 40

    et seq. and/or its implementing regulations.


96. Plaintiff is entitled to compensatory damages of five hundred dollars per instance, as well as civil

    penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for each and every offense.

                                     FOURTH CAUSE OF ACTION
                              (Violation of New York City Human Rights Law,
                                N.Y.C. Administrative Code § 8-102, et seq.)


97. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs 1

    through 100 of this Complaint as though set forth at length herein.


98. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an unlawful discriminatory

    practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent or

    employee of any place or provider of public accommodation, because of . . . disability . . . directly

    or indirectly, to refuse, withhold from or deny to such person, any of the accommodations,

    advantages, facilities or privileges thereof.”




                                                      25
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 26 of 30




99. Willowtree.com is a sales establishment and public accommodation within the definition of N.Y.C.

    Administrative Code § 8-102(9).


100. Defendant is subject to City Law because it owns and operates Willowtree.com. Defendant is a

    person within the meaning of N.Y.C. Administrative Code § 8-102(1).


101. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to update or remove

    access barriers to Willowtree.com, causing Willowtree.com to be completely inaccessible to the

    blind. This inaccessibility denies blind patrons full and equal access to the facilities, goods, and

    services that Defendant makes available to the non-disabled public. Specifically, Defendant is

    required to “make reasonable accommodation to the needs of persons with disabilities . . . any

    person prohibited by the provisions of [§ 8-107 et seq.] from discriminating on the basis of disability

    shall make reasonable accommodation to enable a person with a disability to . . . enjoy the right or

    rights in question provided that the disability is known or should have been known by the covered

    entity.” N.Y.C. Administrative Code § 8107(15)(a).


102. Defendant’s actions constitute willful intentional discrimination against the class on the basis of a

    disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and § 8-107(15)(a) in that

    Defendant has:


             (a) constructed and maintained a website that is inaccessible to blind class members with

                 knowledge of the discrimination; and/or


             (b) constructed and maintained a website that is sufficiently intuitive and/or obvious that

                 is inaccessible to blind class members; and/or




                                                      26
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 27 of 30




              (c) failed to take actions to correct these access barriers in the face of substantial harm and

                  discrimination to blind class members.


103. Defendant has failed to take any prompt and equitable steps to remedy their discriminatory conduct.

     These violations are ongoing.


104. As such, Defendant discriminates, and will continue in the future to discriminate against Plaintiff

     and members of the proposed class and subclass on the basis of disability in the full and equal

     enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

     opportunities of Willowtree.com under N.Y.C. Administrative Code § 8-107(4)(a) and/or its

     implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

     unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.


105. The actions of Defendant were and are in violation of City law and therefore Plaintiff invokes her

     right to injunctive relief to remedy the discrimination.


106. Plaintiff is also entitled to compensatory damages, as well as civil penalties and fines under N.Y.C.

     Administrative Code § 8-120(8) and § 8-126(a) for each offense.


107. Plaintiff is also entitled to reasonable attorneys’ fees and costs.


108. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the remedies, procedures,

     and rights set forth and incorporated therein, Plaintiff prays for judgment as set forth below.




                                                        27
            Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 28 of 30




                                       FIFTH CAUSE OF ACTION

                                             (Declaratory Relief)


109. Plaintiff repeats, realleges and incorporates by reference the allegations contained in paragraphs

    1 through 112 of this Complaint as though set forth at length herein.


110. An actual controversy has arisen and now exists between the parties in that Plaintiff contends, and

    is informed and believes that Defendant denies, that Willowtree.com contains access barriers

    denying blind customers the full and equal access to the goods, services and facilities of

    Willowtree.com, which DD Traders owns, operates and/or controls, fails to comply with applicable

    laws including, but not limited to, Title III of the American with Disabilities Act, 42 U.S.C. §§

    12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-107, et seq.

    prohibiting discrimination against the blind.


111. A judicial declaration is necessary and appropriate at this time in order that each of the parties may

    know their respective rights and duties and act accordingly.


                                          PRAYER FOR RELIEF


    WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and the class and

    against the Defendants as follows:


              a) A preliminary and permanent injunction to prohibit Defendant from violating the

                 Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

                 et seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;


              b) A preliminary and permanent injunction requiring Defendant to take all the steps

                 necessary to make its website, Willowtree.com, into full compliance with the



                                                      28
Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 29 of 30




   requirements set forth in the ADA, and its implementing regulations, so that

   Willowtree.com is readily accessible to and usable by blind individuals;


 c) A declaration that Defendant owns, maintains and/or operates its website,

   Willowtree.com, in a manner which discriminates against the blind and which fails to

   provide access for persons with disabilities as required by Americans with Disabilities

   Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C.

   Administrative Code § 8-107, et seq., and the laws of New York;


 d) An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2)

   and/or (b)(3), appointing Plaintiff as Class Representative, and her attorneys as Class

   Counsel;


 e) An order directing Defendants to continually update and maintain its website to ensure

   that it remains fully accessible to and usable by the visually-impaired;


 f) Compensatory damages in an amount to be determined by proof, including all

   applicable statutory damages and fines, to Plaintiff and the proposed class for violations

   of their civil rights under New York State Human Rights Law and City Law;


 g) Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state

   and federal law;


 h) For pre- and post-judgment interest to the extent permitted by law; and


 i) For such other and further relief which this court deems just and proper.




                                        29
      Case 1:22-cv-10304-JMF-JLC Document 1 Filed 12/06/22 Page 30 of 30




Dated: Jericho, New York
December 6, 2022


                                      THE LAW OFFICE OF NOOR A. SAAB, ESQ.
                                      Attorneys for Plaintiff

                                      /s/ Noor A. Saab

                                      By: The Law Office of Noor A Saab, Esq.
                                          380 North Broadway, Suite 300
                                          Jericho, New York 11753
                                          Tel: 718-740-5060
                                          Fax: 718-709-5912
                                          Email: NoorASaabLaw@gmail.com




                                     30
